Case 6:17-ap-00044-KSJ   Doc 212-4   Filed 09/22/18   Page 1 of 41
Case 6:17-ap-00044-KSJ   Doc 212-4   Filed 09/22/18   Page 2 of 41
Case 6:17-ap-00044-KSJ   Doc 212-4   Filed 09/22/18   Page 3 of 41
Case 6:17-ap-00044-KSJ   Doc 212-4   Filed 09/22/18   Page 4 of 41
Case 6:17-ap-00044-KSJ   Doc 212-4   Filed 09/22/18   Page 5 of 41
Case 6:17-ap-00044-KSJ   Doc Page
                             212-41
                                       Filed 09/22/18   Page 6 of 41




                           9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-42
                                       Filed 09/22/18   Page 7 of 41




                           9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-43
                                       Filed 09/22/18   Page 8 of 41




                           9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-44
                                       Filed 09/22/18   Page 9 of 41




                           9/20/2018
                             Page 5
Case 6:17-ap-00044-KSJ   Doc 212-4  Filed 09/22/18   Page 10 of 41




                            9/20/2018
                             Page 6
Case 6:17-ap-00044-KSJ   Doc 212-4  Filed 09/22/18   Page 11 of 41




                            9/20/2018
                             Page 7
Case 6:17-ap-00044-KSJ   Doc 212-4  Filed 09/22/18   Page 12 of 41




                            9/20/2018
                             Page 8
Case 6:17-ap-00044-KSJ   Doc 212-4  Filed 09/22/18   Page 13 of 41




                            9/20/2018
                             Page 9
Case 6:17-ap-00044-KSJ   Doc 212-4  Filed 09/22/18   Page 14 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-410
                                     Filed 09/22/18   Page 15 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-411
                                     Filed 09/22/18   Page 16 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-412
                                     Filed 09/22/18   Page 17 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-413
                                     Filed 09/22/18   Page 18 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-414
                                     Filed 09/22/18   Page 19 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-415
                                     Filed 09/22/18   Page 20 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-416
                                     Filed 09/22/18   Page 21 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-417
                                     Filed 09/22/18   Page 22 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-418
                                     Filed 09/22/18   Page 23 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-419
                                     Filed 09/22/18   Page 24 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-420
                                     Filed 09/22/18   Page 25 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-421
                                     Filed 09/22/18   Page 26 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-422
                                     Filed 09/22/18   Page 27 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-423
                                     Filed 09/22/18   Page 28 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-424
                                     Filed 09/22/18   Page 29 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-425
                                     Filed 09/22/18   Page 30 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-426
                                     Filed 09/22/18   Page 31 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-427
                                     Filed 09/22/18   Page 32 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-428
                                     Filed 09/22/18   Page 33 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-429
                                     Filed 09/22/18   Page 34 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-430
                                     Filed 09/22/18   Page 35 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-431
                                     Filed 09/22/18   Page 36 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-432
                                     Filed 09/22/18   Page 37 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-433
                                     Filed 09/22/18   Page 38 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-434
                                     Filed 09/22/18   Page 39 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-435
                                     Filed 09/22/18   Page 40 of 41




                            9/20/2018
Case 6:17-ap-00044-KSJ   Doc Page
                             212-436
                                     Filed 09/22/18   Page 41 of 41




                            9/20/2018
